                                                                                  ‭Section 2-4‬

              ‭◼ Selection Policy Statement ◼‬


‭ arroll County Library Board Approval‬
C                                                     ‭ ovember 3, 2003‬
                                                      N
‭Madison County Library Board Approval‬               ‭January 16, 2004‬
 ‭Carroll and Madison Library Board Approval‬          ‭November 5, 2003‬


‭Introduction‬

‭ ecause the freedom to read freely from a variety of sources is essential in a‬
B
‭democracy, the Carroll and Madison Library System (CAMALS) believes there‬
 ‭shall be no censorship. We subscribe to the book selection principles contained‬
  ‭in the Library Bill of Rights adapted by the American Library Association, and the‬
   ‭Freedom to Read Statement endorsed by the American Library Association‬
    ‭Council and the Association of American Publishers. CAMALS recognizes that‬
     ‭many books are controversial and that any given item may offend some patrons.‬
      ‭Selection will not be made on the basis of any anticipated approval or‬
       ‭disapproval, but solely on the merits of the work in relation to building the‬
        ‭collections and serving the interests of the patrons. All materials added to the‬
         ‭collection shall be judged on the content as a whole, not by detached excerpts.‬
          ‭The personal behavior of the creator of any material has no bearing on the‬
           ‭selection of the material.‬

‭ aximum effort is directed toward maintaining a standard of excellence in‬
M
‭materials selection for all segments of the community, striking a balance between‬
 ‭public demand and diversity of material. Factual accuracy, effective expression,‬
  ‭significance of the subject, sincerity and responsibility of opinion are acceptable‬
   ‭criteria for a high standard of quality. The interest and current needs of the‬
       ‭community, the individual merit of each item, and the library’s existing collection,‬
    ‭budget and services are the main factors in selection. The Director, with the aid‬
     ‭of the library staff, shall be free to use her or his judgment in the selection,‬
      ‭retention and withdrawal of materials within the guidelines of this selection policy.‬


‭Selection Process‬

  ‭ ibrary materials are selected by the Director and the library staff after consulting‬
  L
  ‭professional review media including:‬‭Children’s Catalog,‬‭Standard Catalog for‬
‭Public Libraries, Library Journal, New York Times Book Review, Voice of Youth‬
 ‭Advocates, Baker and Taylor Booklist.‬‭Final responsibility‬‭for purchase of‬
   ‭materials resides with the Director of the Library.‬

                                                                                            ‭1‬




                                                                                       ESCPL 00001
‭Standards of Selection‬

‭Books‬

‭ dult Fiction –‬‭Points considered in adult book selection‬‭are informational,‬
A
‭recreational, literary and educational value; authority and effectiveness of‬
 ‭presentation; and availability of funds and space. Contemporary authors are‬
  ‭included as well as those who have demonstrated enduring worth.‬

     ‭Adult Non-Fiction –‬‭Points considered include the‬‭author’s competency, the‬
i‭nformation presented, and the potential usefulness in the library’s collection. The‬
      ‭Library Director attempts to 1) meet the patrons’ demands, 2) purchase material‬
       ‭that is pertinent and timely, and represents all sides of controversial issues, 3)‬
 ‭purchase material in which the author presents the material accurately, clearly,‬
  ‭and in a readable manner. The Library Director purchases materials relating to‬
   ‭local and regional history and seeks other relevant material in this area to add to‬
    ‭the collection.‬

  ‭ oung Adult Fiction and Non-Fiction‬‭– Both fiction‬‭and non-fiction books are‬
  Y
‭selected to meet informational and recreational needs. Materials are chosen from‬
 ‭reviews in journals or through booklists from established sources.‬

‭Children’s Fiction‬‭– Literary merit and validity of‬‭theme whether it be fantasy,‬
‭ istory, sport, or contemporary life are deemed of prime consideration in the‬
h
 ‭selection of juvenile fiction. Fiction plays an important role in the learning‬
  ‭experience of a child through its ability to introduce a wide range of experiences‬
   ‭which otherwise may never be encountered by the child.‬

   ‭Children’s Non-Fiction‬‭– An effort is made to obtain‬‭only material that is‬
‭ uthoritative and up-to-date. Subjects relating to contemporary issues such as‬
a
‭drug abuse and sex education are not be avoided due to their potentially‬
 ‭controversial nature; rather such material is purchased for various levels of‬
  ‭maturity and for parents to use with children. Book selections for the children’s‬
       ‭collection are not curriculum oriented. Books are chosen for their individual‬
        ‭values for individual children. Exposure to a broad selection of informational and‬
    ‭recreational materials is a good way to stimulate the desire to read and grow‬
     ‭intellectually. Final responsibility for an individual child’s selection of library‬
      ‭materials rests with the parent or guardian.‬


‭Non-Book Materials‬

‭ on-book materials are considered an integral part of the library collection. They‬
N
‭provide an additional dimension to the book collection and provide alternative‬
 ‭methods of access to information and recreation. Standards of quality are the‬
  ‭same as those established for the library collection as a whole.‬

                                                                                           ‭2‬




                                                                                      ESCPL 00002
  ‭ eriodicals‬‭– The libraries in CAMALS shall subscribe to periodicals that meet‬
  P
  ‭both informational and recreational needs of adults, young adults, and children.‬
   ‭Periodical titles are reviewed annually to insure maximum usefulness to the‬
    ‭public, taking into consideration the year’s budget and the following criteria:‬
     ‭Community interest, accuracy and objectivity, accessibility through indexes, need‬
      ‭as a reference source, recommendations from professional sources such as‬
       ‭Magazines for Public Libraries‬‭, price, and space.‬‭Backruns of periodicals are‬
‭kept for a select number of heavily used titles. No attempt is made to house‬
 ‭extensive backruns of all periodicals received.‬

‭ ewspapers‬‭– The libraries subscribe to selected local,‬‭state and national‬
N
‭newspapers for news, current affairs and business information. Limited backruns‬
 ‭of paper copies are maintained along with more extensive microfilm backruns of‬
  ‭selected newspapers when available.‬


‭Non-Print Materials‬

‭ he libraries meet both recreational and informational needs through the‬
T
‭provision of various formats of non-print materials.‬

‭ udio Recordings‬‭– Sound recordings consisting of‬‭both music and spoken‬
A
‭word are chosen to meet recreational, instructional and educational needs of‬
 ‭community members of all ages and abilities.‬

  ‭ ideo Recordings‬‭– Documentary, instructional, recreational‬‭videos for all ages‬
  V
‭are provided to complement the library’s total collection. Visual recordings are‬
 ‭selected by the same general criteria as outlined in this policy.‬

     ‭Electronic Resources‬‭– Electronic resources are an‬‭increasingly essential‬
f‭ormat of information delivery and entertainment. These include but are not‬
 ‭limited to electronic indexes, electronic encyclopedias and other electronic‬
  ‭databases. In addition to criteria used for book selection, such factors as ease of‬
   ‭patron use, currency of information, cost and physical requirements of necessary‬
    ‭equipment are considered in choosing these materials for the collections.‬


‭Basis For Withdrawal‬

‭ eeding is part of the continuous evaluation of the Carroll and Madison Library‬
W
‭System’s collections by the professional staff. This process is an integral part of‬
 ‭collection development and maintenance. Reasons for weeding material from‬
  ‭the collection are lack of space, poor physical condition, and outdated‬
   ‭information. The primary goal of weeding is to keep the collection current,‬
    ‭attractive, and usable. Materials are not removed from the collections solely as a‬
     ‭result of pressure or demand from patrons.‬

                                                                                       ‭3‬




                                                                                   ESCPL 00003
‭Reconsideration of Materials‬

‭ patron who questions any material in one of the libraries in CAMALS may‬
A
‭register his/her opinion in writing on the form,‬‭Request‬‭for Reconsideration‬‭,‬
 ‭and the matter will be referred to the Library Director. The form is available at all‬
  ‭libraries in the system.‬

‭ pon receiving a written request, the Library Director shall notify the Regional‬
U
‭Library Administrator and the local library board that a request has been made,‬
 ‭and provide them with all information including the date of the next board‬
  ‭meeting when the‬‭Request for Reconsideration‬‭shall‬‭be on the agenda. The‬
   ‭item in question will be subject to recall from circulation in time for examination at‬
    ‭the meeting otherwise it will remain in the circulating collection of the library.‬

‭ he Library Director and/or Library Administrator will assemble all information‬
T
‭about what selection and retention principles were used with the item, such as‬
 ‭reviews, quotations, and the number of circulations.‬

‭ he local library board shall meet with the Library Director and CAMALS‬
T
‭Administrator to consider the item in light of library policy. A decision to retain or‬
 ‭withdraw the item shall be made.‬

‭ otice of the board’s decision will be sent to the Requestor. If the item is‬
N
‭removed or restricted and if the removal or restriction is objected to by anyone in‬
 ‭the area served (person hereafter called the Supporter), the Supporter may‬
  ‭request reinstatement an/or retention of the item.‬

I‭f the decision made is unsatisfactory to the Requestor or Supporter, the same or‬
 ‭a second‬‭Request for Reconsideration‬‭may be made through‬‭the Library‬
  ‭Director. This request will lead to a meeting of the county board or regional‬
   ‭board, if the county board has already considered the matter.‬

    ‭ otice of the action taken will be sent to either the Requestor (or Supporter). If‬
    N
    ‭the action is unsatisfactory, the Requester (or Supporter) may then request a‬
‭formal open hearing on the item. Public notice will be given for a minimum of 60‬
 ‭days throughout the library region. The Arkansas State Library, the Arkansas‬
  ‭Library Association, and the American Library Association shall be notified. The‬
   ‭open meeting will be held at a time convenient to the public.‬

‭ his will be is an open meeting of the CAMALS Board, and the Requestor (or‬
T
‭Supporter) may be asked to explain the request for reconsideration and answer‬
 ‭questions from the Board. Both the Requestor (and/or Supporter) and the library‬
  ‭board may invite testimony from representatives qualified to represent‬
   ‭information on the item.‬




                                                                                           ‭4‬




                                                                                    ESCPL 00004
‭ he CAMALS Board will then reconsider the item and decide whether or not to‬
T
‭restrict access to the item or withdraw the item from the collection.‬

‭ otice of the Board’s decision will be sent to the Requestor (or Supporter) and to‬
N
‭any organizations involved or notified of the meeting.‬


‭Donated Materials‬

‭ he CAMALS reserves the right to use gifts of materials in a manner in keeping‬
T
‭with its collections and with its selection policy. Materials considered unsuitable‬
 ‭for the collections will be placed in a book sale or discarded.‬


‭Memorial Books‬

‭ AMALS accepts donations toward the purchase of memorial or commemorative‬
C
‭books. Library staff will select the title (or titles) in accordance with the donor’s‬
 ‭wishes regarding the subject specified. The Library may accept a donation for a‬
  ‭specific title if the title meets collection needs and selection policy standards. An‬
   ‭identifying bookplate shall be placed inside the front cover of each memorial or‬
    ‭commemorative book.‬




                                                                                        ‭5‬




                                                                                  ESCPL 00005
                                                                                   ‭Section 2-5‬


            ‭◼ Request for Reconsideration ◼‬



‭Please answer all questions fully.‬

‭Library where the item is shelved_____________________________________________‬

‭Author ____________________________ Hardcover ____ Paperback ____ Other ___‬

‭Title ___________________________________________________________________‬

‭Publisher (if known) ______________________________________________________‬

‭Request initiated by _______________________________________________________‬

‭Address ____________________________________Telephone ____________________‬

‭City _______________________________________ State ________ Zip ____________‬

‭Citizen represents:‬

         ‭ imself/Herself ________________________‬
         H
         ‭Organization (name) ________________________________________________‬
        ‭Other group (identify) _______________________________________________‬

‭(If objection is to material other than a book, please answer as appropriate.)‬

‭1. Did you read/view the entire item?‬        ‭Yes _____‬     ‭No _____‬

 I‭ f no, what pages or sections did you read/view?‬
‭________________________________________________________________________‬

2‭ . To what in the work do you object? (Be specific; cite pages or sections)‬
 ‭________________________________________________________________________‬

3‭ . What did you find of value in this work?‬
 ‭________________________________________________________________________‬




                                                                                             ‭1‬




                                                                                        ESCPL 00006
4‭ . What do you feel might be the result of reading/viewing this work?‬
 ‭________________________________________________________________________‬

5‭ . Are you familiar with any critical reviews of this work?‬
 ‭________________________________________________________________________‬

6‭ . What do you believe to be the theme or purpose of the work?‬
 ‭________________________________________________________________________‬

7‭ . What action do you suggest the Carroll and Madison Library System take regarding‬
 ‭this work?‬
  ‭________________________________________________________________________‬

8‭ . Can you recommend material of equal quality that would convey a similar picture and‬
 ‭perspective on the same subject to replace this work?‬
  ‭________________________________________________________________________‬



‭Signature of citizen ________________________________________ Date ___________‬

‭Name of staff member receiving this form _____________________________________‬

‭Date staff member received this form _________________________________________‬




                                                                                       ‭2‬




                                                                                  ESCPL 00007
ESCPL 00008
ESCPL 00031
